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Summary of Deposit Sources
C         F          , DCU CHK 4760 (closed)
December 2018 ‐ January 2020
Deposit Source                       Count Total Deposited Percentage of Total
A       ,M      D.                     2         $18,000.00       4.23%
B ,S          A.                       1         $25,000.00       5.88%
B             , G M.                   1          $7,000.00       1.65%
Cash                                   1             $10.00       0.00%
C ,K         K.                        2         $32,800.00       7.71%
C          ,C                          1         $15,000.00       3.53%
D      ,D       H.                     2         $28,450.00       6.69%
D        ,A             L              1          $3,650.00       0.86%
G      ,L           A.                 1         $16,500.00       3.88%
H       ,J A                           1         $40,000.00       9.40%
Item Missing                           7       $100,600.00       23.64%
Kalli Enterprises LLC                  1          $3,000.00       0.71%
M      ,R            A.                1          $3,500.00       0.82%
P         , D. M                       1         $15,010.00       3.53%
RJ B       F        Trust of           3         $63,000.00      14.81%
R         ,T      A.                   1         $14,000.00       3.29%
S       ,K       R.                    1          $3,802.00       0.89%
T           ,N       A.                4         $31,200.00       7.33%
W ,D          W.                       1          $5,000.00       1.18%
Grand Total                            33      $425,522.00      100.00%


Summary of Payees
C      F       , DCU CHK 4760 (closed)
December 2018 ‐ January 2020
Payee                          Count Total Paid         Percentage of Total
Bank Fee                         5              ‐$75.00        0.02%
Freeman, Ian                     9       ‐$425,442.00         99.98%
Grand Total                      14      ‐$425,517.00        100.00%




as of November 19, 2022
